
ON MOTION FOR REHEARING
We grant the appellant’s timely motion for rehearing in part, reiterate our per curiam affirmance, and certify to the Florida Supreme Court the following question of great public importance:
DOES AN AGREEMENT WHEREBY A CONVICTED DRUG TRAFFICKER WILL RECEIVE A SUBSTANTIALLY REDUCED SENTENCE IN EXCHANGE FOR SETTING UP NEW DRUG DEALS VIOLATE THE HOLDING IN STATE V. GLOSSON, 462 S0.2D 1082 (FLA.1985)?
COBB, W. SHARP and DIAMANTIS, JJ., concur.
